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 1
                       IN THE UNITED STATES DISTRICT COURT
 2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
      SYMBOLOGY INNOVATIONS, LLC,                   CASE NO.: 3:20-cv-00259-JCS
 4
                          Plaintiff,
 5                                                  [PROPOSED] ORDER GRANTING
      v.                                            JOINT STIPULATION OF
 6
                                                    DISMISSAL WITHOUT
 7    WILLIAMS-SONOMA, INC.,                        PREJUDICE

 8                        Defendant.
                                                    JURY TRIAL DEMANDED
 9

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11           The Stipulation of the parties to dismiss this case WITHOUT prejudice (Dkt.
12   18) is accepted and approved, and this action is hereby dismissed WITHOUT
13   prejudice, with each party to bear its own attorneys’ fees and costs.
14
             SO ORDERED.
15

16            March 2, 2020
     Dated: __________________              ___________________________________
                                            Honorable Joseph C. Spero
17
                                            United States Magistrate Judge
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